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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTIIERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

KEENAN LAMAR CLOUD.                                )
                                                   )
                       Petitioner,                 )
                                                   )
                                                    )
                                                    )
DIRECTOR, I'DCJ.CID,                                )
                                                    )
                       Respondent                   )   Civil Action No.   3: 17-CV-271   6-C-BN

                                               ORDER

       Before the Court are the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge therein advising the Court that Petitioner's application for a writ     of

habeas corpus should be denied.'

       The Court has reviewed the Findings, Conclusions, and Recommendation for clear error

and finds none. It is therefore ORDERED that the Findings, Conclusions, and Recommendation

are hereby   ADOPTED     as the   findings and conclusions of the Court. For the reasons stated

therein, Petitioner's application    fo7 writ of habeas corpus is hereby DENIED.
                                      tl'dayofOctober,2020.
        SO ORDERED       this   ff



                                                                       ?-rrr/v'v+
                                                            C      INGS
                                                 SEN    R            STATES DI            CT JUDGE




      I Petitioner has failed to file objections to the Magistrate Judge's Findings, Conclusions, and
Recommendation and the time to do so has now expired.
